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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN OF FLORIDA



   Wendy Koutouzis, on behalf of herself Case No.:
   and all other similarly situated
   individuals,                          JURY TRIAL DEMANDED

                                Plaintiff,

                   vs.

   Publix Super Markets, Inc.,

                                Defendant.




                          CLASS ACTION COMPLAINT


        Plaintiff Wendy Koutouzis (“Plaintiff”), by and through her undersigned

  counsel, upon personal knowledge as to herself and upon information and

  belief as to all other matters, allege as follows:

        1.    Plaintiff brings this action against defendant Publix Super

  Markets, Inc. (referred to herein as “Publix” or “Defendant”), on behalf of

  herself and all other similarly situated individuals who were overcharged by

  Publix for foods that were sold through various deceptive pricing schemes

  (hereinafter sometimes referred to as the “Products”).




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                     SUMMARY FACTUAL ALLEGATIONS

        2.      This is a class action against Publix for implementing a deceptive

  scheme, through which Publix falsely claimed that foods sold by weight, such

  as meats, cheeses, and deli products, weighed materially more than the actual

  weight of the products.

        3.      Specifically, when a price reduction is advertised for one of the

  Products, instead of charging the reduced sale price multiplied by the weight

  of the product, Publix’ point of sale checkout system (“POS”) automatically

  increases the weight of the product, so that the consumer does not receive the

  sale price.

        4.      For example, during the week of January 18, 2025, Publix

  advertised that Publix Extra Lean Pork Tenderloin was on sale for $4.99 per

  pound, for a savings of $2.00 per pound, from its regular price of $6.99 per

  pound.

        5.      The advertisement was displayed in front of the pork tenderloin

  products and in Publix’ circular as follows:




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        6.   Plaintiff purchased a package of Publix Extra Lean Pork

  Tenderloin that weighed 2.83 pounds per the label on said product.

        7.   However, Publix’s changed the weight of the Publix Extra Lean

  Pork Tenderloin that Plaintiff purchased to 3.96 pounds as follows:




        8.   Most customers do not realize that the weight of the product has

  changed because Publix’ POS is programmed so that the total price of the



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  product matches the total price on the customer’s receipt or the POS screen, so

  to avoid detection.

        9.    And, the customer’s receipt does not list the weight of the product

  but only the alleged savings and the total price of the product.

        10.   If the customer is not able to see the checkout screen, which is the

  case with non-self-checkout lanes, the customer will never know that the

  weight was changed.

        11.   Publix also falsely claims on the customer’s receipt that the

  customer obtained a $7.92 savings as a result of the sale price as follows:




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        12.   As can be seen from the above example, although the POS screen

  states that the customer is receiving the $4.99 sale price for the pork

  tenderloin, the customer does not receive the sale price because the weight of

  the product was artificially inflated to an amount that allowed the POS and

  customer receipt to show a matching total price, so to avoid detection by the

  customer.

        13.   In this example, Publix should have charged Plaintiff 2.83 pounds

  multiplied by $4.99, for a total price of $14.12.

        14.   Instead, Publix charged Plaintiff $19.78, or $5.66 more, which

  amounts to a 40% overcharge.

        15.   As evidenced from above, Publix’ actions are clearly deceptive and

  unfair to consumers.

        16.   Publix is wrongfully diverting customers’ hard-earned money to

  itself by implementing a POS that is purposefully programmed to change the

  weights of products resulting in inflated sales revenues for the company.

        17.   Publix is an employee-owned company and is the largest employee-

  owned company in the United States.

        18.   Publix employees receive dividend checks from Publix based on the

  income and profit generated by the company and its stores.




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        19.   As such, employees are incentivized to not change the fraudulent

  POS system or otherwise alert consumers of Publix’ deceptive weights scheme

  so that Publix generates inflated income and profits.

        20.   Employees, including cashiers, customer service attendants, and

  department managers, do not only fail to alert customers, but insist purposely

  that the customer is wrong, and that the savings were already applied.

        21.   Publix and many of its employees also implement other schemes

  to inflate Publix’ revenues.

        22.   For example, Publix regularly keeps previous week advertisement

  specials/reduced-price sales signs up even though the sales expired.

        23.   Publix also regularly provides incorrect pricing per unit data for

  baby formula.

        24.   Specifically, Publix regularly displays a lower price per ounce on

  the stickers on the shelves when the customer never receives the lower price

  per unit as advertised.

                                  THE PARTIES

        25.   Plaintiff Wendy Koutouzis is an individual consumer over the age

  of eighteen (18), who resides in the state of Florida.




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        26.     Defendant, Publix Super Markets, Inc., a Florida corporation, is a

  supermarket chain headquartered in Lakeland, Florida. Founded in 1930,

  Publix is the largest employee-owned company in the United States. 1

        27.     Publix operates throughout the Southeastern United States, with

  locations in Florida, Georgia, Alabama, South Carolina, Tennessee, North

  Carolina and Virginia.

        28.     Publix stands as one of the largest U.S. regional grocery chains.

  Locations are found as far north as Stafford, Virginia, as far south as Key West

  Florida, while the westernmost location is in Mobile, Alabama. Today, the state

  of Florida still has the largest number of stores, with 872, representing about

  two-thirds of the outlets. As of February 2025, Publix employs about 255,000

  people. Id.

        29.     In 2024, Publix was ranked No. 3 on Forbes’ 2024 list of America’s

  Largest Private Companies, and is the largest in Florida. 2

        30.     The company’s 2023 sales totaled US $57.1 billion, with net

  earnings of $4.3 billion. 3




  1 See https://corporate.publix.com/about-publix/company-overview/facts-figures.


  2 See https://www.forbes.com/lists/top-private-companies/.


  3 See Publix’ Form 10-K Annual Report for the for the fiscal year ended December

  30, 2023, at pp. 11-12, located at https://www.publixstockholder.com/financial-
  information-and-filings/sec-filings.
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        31.      The number of Publix’ storelocations by state are as follows:


                       Supermarkets as of February 2025
         State
                         (inclusive of other categories)

        Florida                       872
       Georgia                        217
       Alabama                         94
    South Carolina                     68
      Tennessee                        59
    North Carolina                     55
       Virginia                        23
        Total                         1389



        32.      Publix, at all times material hereto, was registered and conducting

  business in Florida, maintained agents for the customary transaction of

  business in Florida, and conducted substantial and not isolated business

  activity within this state.

        33.      The advertising and POS for the Products at issue in this case were

  created, designed, and/or approved by Publix and/or its agents.

        34.      The advertised sale prices for the Products were designed to

  encourage consumers to purchase the Products and reasonably misled

  reasonable consumers, including Plaintiffs and the Class into purchasing the

  Products. Publix markets and distributes the Products, and is the company


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  that created and/or authorized the unlawful, fraudulent, unfair, misleading

  and/or deceptive advertising and POS for the Products.

        35.   Plaintiffs allege that, at all times relevant herein, Publix and its

  subsidiaries, affiliates, and other related entities and suppliers, as well as their

  respective employees, were the agents, servants and employees of Publix and

  at all times relevant herein, each was acting within the purpose and scope of

  that agency and employment.

        36.   In addition, Plaintiff alleges that, in committing the wrongful acts

  alleged herein, Publix, in concert with its subsidiaries, affiliates, and/or other

  related entities and suppliers, and their respective employees, planned,

  participated in and furthered a common scheme to induce members of the

  public to purchase the Products by means of untrue, misleading, deceptive,

  and/or fraudulent representations, and that Publix participated in the making

  of such representations in that it disseminated those misrepresentations

  and/or caused them to be disseminated.

        37.   Whenever reference in this Class Action Complaint is made to any

  act by Publix or its subsidiaries, affiliates, distributors, retailers and other

  related entities and suppliers, such allegation shall be deemed to mean that

  the principals, officers, directors, employees, agents, and/or representatives of

  Publix committed, knew of, performed, authorized, ratified and/or directed



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  that act or transaction on behalf of Publix while actively engaged in the scope

  of their duties.

                         JURISDICTION AND VENUE

        38.    This Court has original diversity jurisdiction over this action

  under the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2) because the matter

  in controversy, exclusive of interests and costs, which includes the purchase

  price for all sales of the Products in the state of Florida during the past three

  years, exceeds the sum or value of $5,000,000 and is a class action in which

  there are in excess of 100 class members, and some of the members of the class

  are citizens of states different from Publix.

        39.    Venue is proper pursuant to 28 U.S.C. § 1391. A substantial part

  of the events or omissions giving rise to Plaintiff’s and the class members’

  claims occurred in this judicial district. Also, Defendant has used the laws

  within, and has done substantial business in, this judicial district in that it has

  promoted, marketed, distributed, and sold the products at issue in this judicial

  district.

        40.    There is personal jurisdiction over Defendant because Publix is

  incorporated in Florida and its executive offices are in Florida.

        41.    Further, because Publix’ conduct of falsely inflating the weights of

  the Products, occurred in Florida, and in Publix stores in Florida, Publix is

  subject to personal jurisdiction in Florida.

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        42.   Finally, because the deceptive scheme originated in Florida,

  Florida’s Deceptive And Unfair Trade Practices Act applies to purchasers of

  the Products in Publix stores located in Georgia, Alabama, South Carolina,

  Tennessee, North Carolina and Virginia.

                           FACTUAL ALLEGATIONS

        43.   Publix is engaging in a deceptive weighting scheme by

  programming its point of sale check out system to automatically adjust the

  weights of products at checkout so to inflate sales revenues and profits for the

  company.

        44.   At the time of purchase, the Defendant represented that the

  product weighed [X units of weight].

        45.   However, after the transaction was initiated, the Defendant

  unilaterally and without notice increased the weight of the product to [Y units

  of weight], thereby increasing the total price paid by the Plaintiff.

        46.   The Defendant’s practice of increasing the weight of the product

  after advertising a specific price per unit of weight is deceptive, misleading,

  and designed to inflate the total price paid by consumers.

        47.   Because the weights are not disclosed on the customer receipt, if

  the customer does not notice the change in weight on the checkout screen,

  customers may never know that they were overcharged.



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        48.    The Defendant’s actions have caused the Plaintiff and other

  similarly situated consumers to suffer financial harm by paying more for the

  product than was originally advertised and agreed upon.

        49.    The Defendant’s conduct is part of a pattern or practice of

  deceptive trade practices aimed at increasing profits at the expense of

  consumers.

        50.    For example, on January 10, 2025 Publix advertised that

  Kentucky Legend Turkey Breast went on sale for $7.99 per pound, a $2.00 per

  pound savings from its regular price of $9.99 per pound.

        51.    The advertised sale price was placed in front of the turkey breast

  as shown here:




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        52.   Plaintiff purchased a package of Kentucky Legend Turkey Breast

  that weighed 1.75 pounds.

        53.   Plaintiff should have paid 1.75 pounds multiplied by $7.99, for a

  total of $13.98.

        54.   However, Plaintiff was charged $17.48 for the 1.75 pounds of

  Kentucky Legend Turkey Breast.

        55.   Publix claims that Plaintiff enjoyed a savings of $4.38 as a result

  of the sale for the Kentucky Legend Turkey Breast as follows:




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        56.   However, Plaintiff did not obtain any savings from her purchase.

        57.   Instead, Publix falsely claimed on its POS that the Kentucky

  Legend Turkey Breast that she purchased weighed 2.19 pounds and charged

  her $17.48, as follows:




        58.   Plaintiff should have been charged 1.75 pounds multiplied by

  $7.99, for a total of $13.98, but was improperly charged 2.19 pounds multiplied

  by $7.99, for a total of $17.48, a $3.50 overcharge, 25% more than she should

  have been charged.

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        59.   On January 18, 2025, Plaintiff purchased a package of Kentucky

  Legend Smoked Ham after it went on sale for $5.49 per pound, from its regular

  price of $7.39 per pound.

        60.   The advertisement was on Publix’ website as follows:




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        61.   Although the label on Plaintiff’s Kentucky Legend Smoked Ham

  stated that it weighed 1.92 pounds, Publix’ POS changed the weight to 2.58

  pounds as follows:




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        62.   Publix claimed on Plaintiff’s receipt that she saved $4.90 as a

  result of the sale price for the Kentucky Legend Smoked Ham as follows:




        63.   However, Plaintiff did not obtain any savings as a result of the sale

  because she should have been charged $5.49 multiplied by 1.92 pounds, for a

  total of $10.54. Instead Plaintiff was charged $14.19, resulting in $3.65 more,

  a 35% overcharge.

        64.   In January of 2025, Publix announced a sale on Publix Extra Lean

  Pork Loin Tenderloin for $4.99 per pound, from its regular price of $6.99 per

  pound:

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        65.   Plaintiff purchased a package of Publix Extra Lean Pork Loin

  Tenderloin that weighed 2.52 pounds, which Plaintiff confirmed the weight as

  follows:




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        66.   Again, Publix’ POS changed the weight of Plaintiff’s Publix Extra

  Lean Pork Loin Tenderloin as follows:




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        67.   Again, Publix claimed that she saved $7.06 on her receipt as a

  result of the sale price for Publix Extra Lean Pork Loin Tenderloin:




        68.   Plaintiff should have been charged $4.99 multiplied by 2.52

  pounds, for a total of $12.57, however, she was improperly charged $17.61,

  which amounts to $5.04 more and a 40% overcharge.




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        69.   On January 25, 2025, Publix had a sale for Spring Mountain Whole

  Chicken for $2.49 per pound, from its regular price of $2.99 per pound:




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        70.    Plaintiff purchased a Spring Mountain Whole Chicken that

  weighed 4.15 pounds.

        71.   Publix charged Plaintiff $12.41 for the 4.15 pound Spring

  Mountain Whole Chicken and claimed that Plaintiff’s chicken weighed 4.98

  pounds, 20% more, and that Plaintiff obtained savings of $2.49:




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        72.   Plaintiff should have been charged $2.49 multiplied by 4.15

  pounds, for a total of $10.33, however, she was improperly charged $12.41,

  which amounts to $2.08 more, a 20% overcharge.

        73.   On January 25, 2025, Publix also advertised that the Hormell Cure

  81 Half Ham was on sale for $5.99 a pound, $2.00 off its regular price of $7.99:


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        74.   Plaintiff purchased a Hormell Cure 81 Half Ham that weighed 3.78

  pounds:




        75.   Publix’ POS changed the weight of Plaintiff’s Hormel Ham to 5.04

  pounds, instead of the actual 3.78 pound weight, and charged Plaintiff $30.20,

  when she should have been charged $22.64, a 33% overcharge.

        76.   Publix’ also falsely claims that Plaintiff saved $10.08 on her

  Hormel Ham purchase as evidenced by the receipt cited above in paragraph

  71.

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        77.   On February 15, 2025, Plaintiff purchased another Hormel Ham

  that was on sale for $5.99 per pound and Publix’ POS increased the weight of

  the ham from 3.77 pounds to 5.03 pounds as follows:




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        78.   Publix charged Plaintiff $30.12, when she should have been

  charged $22.58, another 33% overcharge.

        79.   Publix’ also falsely claims that Plaintiff saved $10.06 on her

  Hormel Ham purchase as evidenced by the following receipt:




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        80.   Publix also regularly artificially increases the weight for its

  weighted cheeses.

        81.   For example, in November of 2024, Publix advertised a sale for

  Publix Deli Cranberry Cheddar Cheese that was $8.99 per pound, down from

  $9.99 per pound.

        82.   On November 9, 2024, Plaintiff purchased the following package

  of Publix Deli Cranberry Cheddar Cheese that was labeled as weighing .60

  pounds at the Publix located at 4900 W. Kennedy Blvd, Tampa Florida:




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        83.     Publix charged Plaintiff $5.99 for the .60 pounds of Publix Deli

  Cranberry Cheddar Cheese and claimed that Plaintiff obtained savings of $.67

  as follows:




        84.     However, Plaintiff did not obtain any savings for the Publix Deli

  Cranberry Cheddar Cheese, because Publix’ POS changed the weight of her

  purchase to .67 pounds, an 11% increase.

        85.     Plaintiff should have been charged $5.39, but instead was charged

  $5.99, an 11% overcharge.

        86.     Plaintiff has also been overcharged as a result of Publix’ deceptive

  practice of leaving old, reduced-price sale signs up when the sale expired.


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        87.   For example, the following reduced-price sales sign for Granny

  Smith Apples was left up by Publix even though the sale expired:




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        88.   On January 27, 2025, Plaintiff purchases the Granny Smith

  Apples listed above and was charged $2.69 a pound as evidenced by the

  following receipt listed above in paragraph 79.

        89.   Plaintiff noticed that Publix deliberately leaves the old signs up so

  customers think there is a sale. And, even after Plaintiff went to customer

  service and informed Publix of the incorrect sale sign, when she went back a

  few days later, the incorrect sales sign was still there.

        90.   On February 15, 2024, Plaintiff observed that the Granny Smith

  Apples were on sale again as per the following sign:




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        91.   On February 15, 2025, Plaintiff purchases the Granny Smith

  Apples listed above and was charged $2.69 a pound as evidenced by the

  following receipt:




        92.   Plaintiff has also been overcharged as a result of Publix’ false price

  per unit shelf labeling scheme.

        93.   For example, Publix stated that Enfamil ProSobee baby formula

  cost $1.59 per ounce on the sticker on the shelf as follows:




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        94.    On January 3, 2025, Plaintiff purchases the 20.9-ounce container

  of Enfamil ProSobee baby formula and was charged $1.95 per ounce.

        95.   Although Plaintiff has obtained refunds for some of the purchases

  described above, she has not obtained a refund for all of her purchases,

  including the pork tenderloins.

        96.   Publix employees also make the refund process difficult and

  requires the consumer to repeatedly plead their case to obtain a refund as a

  result of the deceptive weights.

        97.   In multiple instances when Plaintiff complained about an

  overcharge, the Publix employee insisted that she was wrong.




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        98.   Many times, Plaintiff did not seek a refund even if she noticed the

  overcharge because she knew it would take a significant amount of time to

  plead her case and obtain a refund.

        99.   Plaintiff is consistently overcharged through Publix’ deceptive

  weighting scheme and seeks to end the practice.

        100. Plaintiff continues to shop at Publix because it is the only full-

  service grocery store in her area and Publix has products that she cannot

  reasonably obtain elsewhere.

        101. Publix is aware of the requirement, importance and need that its

  pricing and weights be accurate, not false, and not mislead its customers.

        102. Publix is aware that inaccurate pricing and weights misleads and

  deceives customers.

        103. Publix is aware that charging a customer a price for an item that

  is more than the lowest advertised, quoted, posted, or marked price is an

  impermissible overcharge.

        104. To this point, in addition to the Federal Trade Commission (“FTC”)

  Act’s prohibition on “unfair or deceptive acts or practices in or affecting

  commerce” (Section 5 of the FTC Act, 15 USC §45), the FTC requires that any

  retailer who offers price comparisons “should make certain that the bargain

  offer is genuine and truthful. Doing so will serve their own interest as well as

  that of the general public.” 16 C.F.R. § 233.5.

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        105. Publix has failed to implement policies, procedures and/or changes

  to its POS Systems to prevent the use of false and misleading pricing and

  weights, and the improper and damaging overcharging of customers as alleged

  herein.

        106. Publix knowingly failed to implement policies and procedures to

  correct and/or prevent the systemic deceptive practices and overcharges

  alleged herein.

        107. In addition to damages on behalf of herself and similarly situated

  consumers, Plaintiff seeks a declaratory judgment requiring Publix to update

  its POS system so that the weights for goods are no longer changed.

                       CLASS ACTION ALLEGATIONS

        108. Plaintiff brings this action on behalf of herself and all other

  similarly situated individuals pursuant to Rule 23 of the Federal Rules of Civil

  Procedure and seeks certification of the following Class against Defendant for

  violations of FDUTPA and claims for unjust enrichment:

              All consumers who purchased one of the Products at a
              Publix store located in the United States, as detailed
              herein, within the statute of limitations period,
              including any tolling period (the “Class” and “Class
              Period”). Excluded from the Class are Defendant’s
              current or former officers, directors, and employees;
              counsel for Plaintiff and Defendant; and the judicial
              officer to whom this lawsuit is assigned.




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        109. Plaintiff reserves the right to amend the definition of the Class if

  discovery and further investigation reveals that the Class should be expanded

  or otherwise modified.

        110. Plaintiff reserves the right to establish sub-classes as appropriate.

        111. There is a well-defined community of interest among members of

  the Class, and the disposition of the claims of these members of the Class in a

  single action will provide substantial benefits to all parties and to the Court.

        112. The members of the Class are so numerous that joinder of all

  members of the Class is impracticable. At this time, Plaintiff believes that the

  Class includes thousands of members. Therefore, the Class is sufficiently

  numerous that joinder of all members of the Class in a single action is

  impracticable under Federal Rule of Civil Procedure Rule 23(a)(l), and the

  resolution of their claims through the procedure of a class action will be of

  benefit to the parties and the Court.

        113. Plaintiff’s claims are typical of the claims of the members of the

  Class whom they seek to represent because Plaintiff and each member of the

  Class has been subjected to the same deceptive and improper practices by

  Defendant and have been damaged in the same manner.

        114. Plaintiff will fairly and adequately represent and protect the

  interests of the members of the Class as required by Federal Rule of Civil

  Procedure Rule 23(a)(4). Plaintiff has no interests that are adverse to those of

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  the members of the Class that she seeks to represent. Plaintiff is committed to

  the vigorous prosecution of this action and, to that end, Plaintiff has retained

  counsel that is competent and experienced in handling complex class action

  litigation on behalf of consumers.

        115. A class action is superior to all other available methods of the fair

  and efficient adjudication of the claims asserted in this Complaint under

  Federal Rule of Civil Procedure 23(b)(3) because:

              a. The expense and burden of individual litigation would not be

                 economically feasible for members of the Class to seek to

                 redress their claims other than through the procedure of a class

                 action;

              b. If separate actions were brought by individual members of the

                 Class, the resulting multiplicity of lawsuits would cause

                 members to seek to redress their claims other than through the

                 procedure of a class action; and

              c. Absent a class action, Defendant likely would retain the

                 benefits of its wrongdoing, and there would be a failure of

                 justice.

        116. Common questions of law and fact exist as to the members of the

  Class, as required by Federal Rule of Civil Procedure 23(a)(2), and predominate



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  over any questions that affect individual members of the Class within the

  meaning of Federal Rule of Civil Procedure 23(b)(3).

        117. The common questions of fact include, but are not limited to, the

  following:

               a. Whether the practice by Defendant of selling falsely advertised

                  products violate the Florida Deceptive and Unfair Trade

                  Practices Act;

               b. Whether Defendant engaged in unlawful, unfair, misleading,

                  and/or deceptive business acts or practices;

               c. Whether Defendant was unjustly enriched by deceptive

                  business practices; and

               d. Whether Plaintiff and members of the Class are entitled to an

                  award of reasonable attorneys’ fees, pre-judgment interest, and

                  costs of this suit.

        118. Plaintiff is not aware of any difficulty that will be encountered in

  the management of this litigation that would preclude its maintenance as a

  class action.

                                   COUNT I
               Violation of Florida Deceptive And Unfair Trade
                    Practices Act, Fla. Stat. § 501.201 et seq.

        119. Plaintiff re-alleges and incorporates by reference herein all of the

  allegations contained in this complaint as if fully set forth herein.

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        120. Plaintiff brings this claim on behalf of herself and the members of

  the proposed Class.

        121. Plaintiffs and the members of the Class are “consumers” within

  the meaning of the Florida Deceptive and Unfair Trade Practices Act

  (“FDUTPA”), Fla. Stat.§ 501.203(7).

        122. Defendant is engaged in “trade or commerce” within the meaning

  of Fla. Stat. § 501.203(8).

        123. FDUTPA         prohibits   “[u]nfair   methods     of     competition,

  unconscionable acts or practices, and unfair or deceptive acts or practices in

  the conduct of any trade or commerce....” Fla. Stat. § 501.204(1).

        124. Defendant participated in unfair and deceptive trade practices

  that violated the FDUTPA as described herein.

        125. Defendant’s Products are goods within the meaning of FDUTPA.

        126. Defendant’s unfair and deceptive practices are likely to mislead—

  and have misled—reasonable consumers, such as Plaintiff and members of the

  Class, and therefore, violate § 500.04.

        127. Defendant has violated FDUTPA by engaging in the unfair and

  deceptive practices described above, which offend public policies and are

  immoral, unethical, unscrupulous and substantially injurious to consumers.




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        128. Specifically, Defendant marketed and advertised the Products in a

  deceptive, false and misleading manner by advertising false sale prices and

  providing false weights in Publix’s POS system.

        129. Defendant, directly or through its agents and employees, made

  false representations, concealments, and nondisclosures to Plaintiff and

  members of the Class.

        130. Plaintiff and numerous other customers purchased the Products

  based on Defendant’s false and misleading representations.

        131. Plaintiff and numerous other customers purchased the Products

  after viewing and relying on the sale prices for the Products.

        132. Plaintiff and the members of the Class have been aggrieved by

  Defendant’s unfair and deceptive practices in violation of FDUTPA, in that

  they purchased the Products with the reasonable expectation that Publix

  would not change the weights for the Products and/or would not falsely

  advertise prices.

        133. Reasonable consumers rely on Defendant to honestly market and

  label the Products in a way that does not deceive reasonable consumers.

        134. Defendant has deceived reasonable consumers, like Plaintiff and

  the members of the Class, into believing that they obtained the sale price for

  the Products.



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        135. Plaintiff and the members of the Class suffered damages

  amounting to, at a minimum, the difference from what they paid and what

  they should have paid.

        136. The damages suffered by Plaintiffs and the members of the Class

  were directly and proximately caused by the deceptive, misleading, and unfair

  practices of Defendant.

        137. Pursuant to § 501.211(2) and § 501.2105, Plaintiffs and the

  members of the Class are entitled to damages, attorney’s fees and costs.

                               COUNT II
                         Declaratory Judgment
     Pursuant to Florida’s Deceptive and Unfair Trade Practices Act
               Florida Statute Section 501.201/211, et seq.

        138. Plaintiff re-alleges and incorporates by reference herein all of the

  allegations contained in this complaint as if fully set forth herein.

        139. Plaintiff brings this claim on behalf of herself and the members of

  the proposed Class.

        140. FDUPTA, Section 501.211 provides that “Without regard to any

  other remedy or relief to which a person is entitled, anyone aggrieved by a

  violation of this part may bring an action to obtain a declaratory judgment that

  an act or practice violates this part and to enjoin a person who has violated, is

  violating, or is otherwise likely to violate this part.”




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        141. As alleged supra, and also specifically in Count I, Plaintiff and the

  members of the Class have been aggrieved by Publix’ violation of FDUPTA.

        142. Plaintiff, individually and on behalf of the members of the Class,

  seeks to obtain a declaratory judgment:

        A.    Finding that Publix’ conduct of falsely inflating product weight, is

        an act and practice that violates FDUPTA; and,

        B.    Enjoining Publix, which has violated, is violating, and is likely to

        continue to violate FDUPTA with respect to falsely inflating product

        weight, from continuing to sell sold-by-weight products, until and only

        if, Publix has implemented procedures, controls and processes, including

        modifications to its databases and POS systems, to ensure that are

        accurate and not misleading with respect to the products’ weight.

        143. Plaintiff and Class members are entitled to declaratory and

  injunctive relief, reasonable attorneys’ fees and costs, and other relief as

  deemed appropriate or permitted pursuant to the relevant law.


                                  COUNT III
                               Unjust Enrichment

        144. Plaintiff re-alleges and incorporates by reference herein all of the

  allegations contained in this complaint as if fully set forth herein.

        145. Plaintiff brings this claim on behalf of herself and the members of

  the proposed Class.

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        146. Plaintiff and the Class members conferred benefits on Publix by

  purchasing the Products.

        147. Plaintiff and Class members conferred a monetary benefit on

  Publix by paying more for the Products than the advertised price for the

  Products.

        148. Publix has been unjustly enriched in retaining the revenues

  derived from Plaintiff’s and the other members of the Class’s purchases of the

  Products at prices that exceeded the advertised price. Retention of those

  monies under these circumstances is unjust and inequitable because Publix’s

  advertisements were false and misleading to customers, which caused injuries

  to Plaintiff and the other members of the Classes.

        149. Publix knew that Plaintiff and Class Members conferred a benefit

  on Publix and accepted or retained that benefit.

        150. Through its false, misleading, unfair and deceptive pricing

  practices, Publix unjustly received and retained benefits at the expense of

  Plaintiff and Class members, specifically the difference in price between what

  was charged and what should have been charged

        151. By and through Publix’s false, misleading, unfair and deceptive

  pricing practices, Publix has received, had use of, and accrued interest on these

  funds wrongfully obtained from Plaintiff and Class members.



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        152. Publix should not be permitted to retain the money belonging to

  Plaintiff and Class members.

        153. Plaintiff and Class members have suffered pecuniary harm as a

  direct and proximate result of Publix’s conduct.

        154. Plaintiff and Class members have no adequate remedy at law.

        155. Plaintiff and Class members are entitled to restitution of,

  disgorgement of, and/or the imposition of a construct trust upon all profits,

  benefits, and other compensation obtained by Publix, and for such other relief

  that this Court deems proper, as a result of their unfair, misleading, and

  inequitable conduct.


                              RELIEF REQUESTED

        156. Accordingly, Plaintiff, on behalf of herself and the members of the

  Class, seek judgment as follows:


        1.     Certifying the Class as requested herein, certifying Plaintiff as the

  representative of the Class, and appointing Plaintiff’s counsel as counsel for

  the Class;

        2.     Ordering that Defendant is financially responsible for notifying all

  members of the Class of the alleged misrepresentations and omissions set forth

  herein;




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        3.    Awarding Plaintiff and the members of the Class compensatory

  damages in an amount according to proof at trial;

        4.    Ordering Defendant to correct the deceptive behavior;

        5.    Awarding attorneys’ fees, expenses, and recoverable costs

  reasonably incurred in connection with the commencement and prosecution of

  this action; and

        6.    Directing such other and further relief as the Court deems just and

  proper.

                         DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

  and the Class demand a trial by jury as to all matters so triable.

  Dated: February 19, 2025

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                                            Counsel for plaintiffs
                                            and the proposed class




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